                THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       BRYSON CITY DIVISION
              CRIMINAL CASE NO. 2:13-cr-00012-MR-DLH-5


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                              ORDER
                                )
                                )
TIMOTHY LEROY RATTLER,          )
                                )
                   Defendant.   )
_______________________________ )


      THIS MATTER is before the Court on the Government’s Motion to

Dismiss [Doc. 124].

      Upon careful consideration of the Government’s Motion,

      IT IS, THEREFORE, ORDERED that the Government’s Motion [Doc.

124] is GRANTED, and the Bill of Indictment in this case is hereby

DISMISSED WITHOUT PREJUDICE as to Defendant Timothy Leroy

Rattler.

      IT IS SO ORDERED.        Signed: December 2, 2013




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